 8:09-cr-00337-LSC-FG3            Doc # 26   Filed: 12/23/09   Page 1 of 2 - Page ID # 54




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )                8:09CR337
       vs.                                     )
                                               )                 ORDER
DOUGLAS HOLLIBAUGH,                            )
                                               )
                     Defendant.                )


       This matter is before the court on the defendant's Motion to Continue Trial (Filing
25). The defendant requests a continuance because the government has failed to provide
"a substantial amount of discovery material." The defendant's motion advises that counsel
for the United States is still "in the process" of obtaining the discovery that should have
been provided to the defense by October 5, 2009. See Filing 8, Case Progression Order
filed September 28, 2009.

      The court finds that the defendant's motion must be granted due to the
government's failure to provide discovery to the defense. Current defense counsel will not
be available until after February 26, 2010.

       IT IS ORDERED:

      1. The motion to continue trial (Filing 25) is granted, and the jury trial now set for
January 5, 2010 is continued to March 2, 2010.

        2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between January 5, 2010 and March 2, 2010, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act because the failure to grant a continuance would deny the defendant reasonable
time to obtain counsel, would unreasonably deny the defendant or the Government
continuity of counsel, or would deny counsel for the defendant or the attorney for the
Government the reasonable time necessary for effective preparation, taking into account
the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).

        3. Defendant shall file the affidavit or declaration required by NECrimR 12.1(a) no
later than December 28, 2009.
 8:09-cr-00337-LSC-FG3       Doc # 26     Filed: 12/23/09   Page 2 of 2 - Page ID # 55




      4. Counsel for the United States is ordered to show cause, by written affidavit, why
the United States failed, or was unable, to timely provide discovery to the defense in
accordance with the case progression order. The affidavit may be filed under seal, if
necessary, and shall be filed no later than Monday, January 4, 2010.

      DATED December 23, 2009.

                                         BY THE COURT:

                                         s/ F.A. Gossett
                                         United States Magistrate Judge




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